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JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL
Case No. 2:21-cv-07595-RGK-MRW Date October 12, 2021

 

 

Title Gabriela Cabrera v. The Village Courtyard, Inc. et al

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) ORDER DISMISSING ACTION FOR FAILURE TO
RESPOND TO OSC

On September 30, 2021, the Court issued an Order to Show Cause ordering Plaintiff to provide
certain information regarding damages sought and whether Plaintiff or Counsel satisfy the definition of a
“high-frequency litigant.” In its order, the Court warned that failure to timely or adequately respond to
the OSC may, without further warning, result in the dismissal of the entire action without prejudice. The
Court ordered Plaintiff to respond in writing no later than October 8, 2021.

To date, Plaintiff has not filed a response. Therefore, the Court hereby dismisses without
prejudice, the action in its entirety.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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